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AH oiN, A# 212-023-180, »-~Q§?l§a‘:§i,.@
Plaintiff, /
V' Case NO. l \'/} \'/C)é 5 \’
Dr.. Link & Nurse administrator ,
Defendants.
colviPLAlNT
JuRisDicTioN

1.) This is a civil action brought pursuant to bivens V. six federal officers by a immigration detainee .
2.) Jurisdiction is conferred upon this count by 28 U.S.C. § 1346 (b).

3.) Pursuant to 28 U.S.C. § 2675 (a) the claim set forth herein vvas presented to the nurse adnim . on
OCT.S, 2017 int he form of a grievance.

VENUE

4.) \/enue is proper in the Western DlSTRlCT OF M Pursuant to 28 U.S.C.§1402(B).

 

PARTIE$

5.) Plaintiff Burma ls a Citizen of_L_J_._S_ Plainitiff resides at B,F,D,F 4250 federal Drive,Batavia,NY
14020,Within the jurisdiction of this count . the alleged of omission at issue occurred in the Western
District of_N._Y.

 

6.) defendants are Dr. Linl< and nurse administrator are located at the same address above.

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FACTS

7.) On or around Sep 7,2017,
At the time of the incident i was located in Bl unit. l was sitting on a a chair watching T.V, kind of a
leaning backward position. | was about getting up to go to my cell , using both my hands to pull myself
over when my lower back made a cracking sound.| let go then try again and couldn’t get up. l sat back
let the pain subside for some minutes than after much effort i finally got myself off the chair.By the
time i reach my cell the pain was becoming unbearab|e. Later that night , around 9.00 o'clock l was
taken to a hospital. There after taken x-ray i was given a shot and a pil|. | was released at around 3.00
am and was told that the diagnosis will be forwarded to the facility including prescription Now at the
facility i was administered lbuprophen that never relieved me from my pain.lf it wasn't for the hot
water using it 2-3 times a day, we got from the shower, l wouldn't know what i would do for relief.
Finally in six days i received medication that was prescribed by the hospital’s doctor and it was
discontinued two days later.Then i got from bad to worse the pain got so excruciating that i had another
x-ray taken on sept 22nd. When nothing was done about my situation, l decided to have a serious talk
with Dr.Link who had me to believe it was nothing that ibuprophen cannot take care. The true
revelation came when Dr.Quinones went to my file and found out in fact there is a crack in my lower
back and Dr.Link was aware of it and has been going all wrong about my condition. At this point i
decided to seek legal action..

CAUSE OF ACT|ON

8.) The actions of Dr.Link in not explaining to me , what was the problem with my back after ordering
the x-ray knowing i was'nt walking properly holding my back alot whenever i did and instead only giving
me muscle relaxers ibuprofens for the pain i was enduring was and or is medical malpractice because
nothing has changed for the better, lam still in pain can't walk properly (see surveillance cameras of A~l
unit ) , thus constituting cruel and unusual treatment in violation of my Sth amendment right , as
protected under the U.S constitution.

The actions of the facilitys nurse administrator in not looking into this matter, after learning about
it through my grievance , when he/she has such authority and it is his/herjob to do so was a deliberate
indifference to my medical needs and constituted a violation of my Sth amendment right as protected
under the U.S constitution

RELlEF REQUESTED

9.) V\/herefore , | respectfully re alleges and incorporate by reference, herein , paragraph line # 1~9,
pursuant to bivens v.six federal defendants , be granted as follows.

A. Declaring that the actions of the defendant were medical mal-pratice and deliberately in different.\

B. Awarding compenatory damages against these defendants individually and jointly in the sum of one
hundred thousand dollars (100,000.00 $) for violating plaintiffs costitutiona| rights and causing him
continous pain for over a 1 month

C. Awarding punitive damages for plaintiffs against these defendants for causing him psychological and
mental pain `
For my other and futher relief as the court may be deem just and proper

Re§pectf r|,ly by .
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Al-i DlN A#212-023-180

   
 

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